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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    ATTORNEYS FOR DEBTOR

    In re:                                                          Chapter 11
                                                                    Case No.: 21-30589
    LTL MANAGEMENT LLC,1                                            Judge: Michael B. Kaplan
                                                                    Hearing Date and Time:
                                Debtor.                             July 6, 2022 at 10:00 a.m.

               SECOND ORDER EXTENDING THE PERIOD WITHIN WHICH THE
             DEBTOR MAY REMOVE ACTIONS PURSUANT TO 28 U.S.C. § 1452 AND
             RULE 9027 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

                     The relief set forth on the following pages is hereby ORDERED.




1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.
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Debtor: LTL Management LLC
Case No. 21-30589-MBK
Caption: Second Order Extending the Period Within Which the Debtor May Remove Actions
Pursuant to 28 U.S.C. § 1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure



               This matter coming before the Court on the Second Motion for Entry of an Order

Extending the Period Within Which the Debtor May Remove Actions Pursuant to 28 U.S.C.

§1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure (the “Motion”),1 filed by the

above-captioned debtor (the “Debtor”); the Court having reviewed the Motion and having

considered the statements of counsel and the evidence adduced with respect to the Motion at a

hearing before the Court (the “Hearing”); the Court finding that (a) the Court has jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (b) venue is proper in this district

pursuant to 28 U.S.C. §§ 1408 and 1409, (c) this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2), (d) notice of the Motion and the Hearing was sufficient under the

circumstances and (e) cause exists under Bankruptcy Rule 9006(b)(1) to grant an extension of

the removal periods established under Bankruptcy Rule 9027(a); and the Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish

just cause for the relief granted herein;

               IT IS HEREBY ORDERED THAT:

               1.       The time period provided under Bankruptcy Rule 9027(a) within which

the Debtor may file notices of removal of any and all civil actions is extended to and including

January 9, 2023 to the extent that the time period for filing any such notices of removal

otherwise would expire before such date.


1
       Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.
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(Page 3)
Debtor: LTL Management LLC
Case No. 21-30589-MBK
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Pursuant to 28 U.S.C. § 1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure


                2.    This Order shall be without prejudice to (a) any position the Debtor may

take regarding whether section 362 of the Bankruptcy Code applies to stay any given civil action

pending against the Debtor and (b) the Debtor’s right to seek from this Court further extensions

of the period within which the Debtor may file notices of removal under Bankruptcy

Rule 9027(a).

                3.    This Order shall be immediately effective and enforceable upon its entry.

                4.    This Court shall retain exclusive jurisdiction over any and all matters

arising from or related to the implementation, interpretation or enforcement of this Order.
